
35 N.Y.2d 737 (1974)
In the Matter of William R. Murray, Appellant,
v.
Victor Lord et al., Respondents.
Court of Appeals of the State of New York.
Argued October 16, 1974.
Decided October 18, 1974.
Prescott C. Sook for appellant.
Louis J. Lefkowitz, Attorney-General (William J. Kogan and Ruth Kessler Toch of counsel), for New York State Board of Elections, respondent.
John W. Tabner for Ellis J. Staley, Jr., respondent.
Concur: Chief Judge BREITEL and Judges JASEN, GABRIELLI, JONES, WACHTLER and RABIN. Taking no part: Judge STEVENS.
Order affirmed, without costs, on the memorandum at the Appellate Division.
